Case 2:04-cV-02510-.]DB-tmp Document 11 Filed 05/23/05 Page 1 of 2 Page|D 20

UNITED STATE.S DISTRICT COURT "“'ED "
WESTERN DISTRICT OF TENNESSEE g ` h g_ \6
WESTERN I)IVISION 95 rim 2 rt -

DlRECTV, Inc., a Califomia corporation,

 

)
. . )
Plaintiff, )
)
v. ) Case No.O4-2510-BP
GREGORY BONTRAGER, )
)
Defendant. §

AGREE]) ORDER OF COMPROMISE AND DISMISSAL
AS TO DEFENDANT GREGORY BONTRAGER

lt appearing to the court that the parties have settled all matters in controversy existing
between them it is therefore accordingly OR`DERED, ADJUDGED AND DECREED by the
court that:

The Compfaint of the Plaintiff, DIRECTV, Inc. is hereby dismissed Without prejudice as

to Defendant GREGORY BONTRAGER.

 

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Respectful ly Submitted,
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// BAKER, DoNELsoN'; BEARMAN, GREGORY BoNTRAGER 0 w
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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CV-025]0 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

